Case 2:93-cr-20201-.]PI\/| Document 108 Filed 05/02/05 Page 1 of 2 Page|D 53

ll.LtJ W D b
IN THE UNITED STATES DISTRICT COURT ‘
FOR THE WESTERN DISTRICT OF TENNESSEE 95 f~‘;'l§§;’ -2 md 92 33
Western

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CLF" ‘ __.l§.3. FJJ§T. CT.

UNITED STATES OF AMERJCA, §_N l l`."\l. §.ltel\APHlS

Plaintiff,
vs. Case No. 2:93cr20201-Ml

Marcus Lamont Nelson

 

ORDER REFUNDING CASH APPEARANCE BOND

 

T'his matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of Said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the Surn of $500.00,

payable to Marcus L. Nelson at 5983 Hickory Hill Sq, Memphis, TN 38116 in hill refund of the cash

tr (l@t

Ur- ted States District Judge,
J P Mccana 63/ /730§

appearance bond posted herein.

   
  

 

Date: 402?1` 0:'>/

Approved.

Robert R. Di Trolio, Clerk g<j)urt
BY WMJ¢J

Deputy Clérk 0

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DISTRIC COUR - WESTER DI'S'TRICT oF ENNESSEE

Notice of Distribution

ThiS notice confirms a copy ofthe document docketed as number 108 in
case 2:93-CR-20201 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

l\/lemphis7 TN 38103

Marcus Lamont Nelson
5984 Hickory Hill
l\/lemphis7 TN 38l 16

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

